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 8                      UNITED STATES DISTRICT COURT
 9                    CENTRAL DISTRICT OF CALIFORNIA
10                              SOUTHERN DIVISION
11   GRUMPY CAT LIMITED,                    ) No. SACV15-02063 DOC (DFMx)
                                            )
12                     Plaintiff,           )
                                            )
13                     v.                   )
                                            ) ORDER SETTING SETTLEMENT
14                                          ) CONFERENCE
                                            )
                                            )
15   GRENADE BEVERAGE, LLC,                 )
                                            )
16                     Defendants.          )
                                            )
17                                          )
                                            )
18                                          )
19
20         A Settlement Conference will be held before the Court in Courtroom 6B
21   of the Ronald Reagan Federal Building and United States Courthouse, 411
22   West Fourth Street, Santa Ana, California, on January 8, 2018, at 9:00 a.m.
23   The Court believes that consideration of settlement is a serious matter that
24   requires thorough preparation before the settlement conference. Set forth
25   below are the procedures the Court will require the parties to follow and the
26   procedures the Court will typically employ in conducting the conference:
27         1.    Attendance of Parties Required. Parties with full and complete
28   settlement authority are required to personally attend the conference, together
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 1   with trial counsel for each party. A corporate party shall send a representative
 2   with full and complete authority to make settlement decisions. Defendant’s
 3   representative must have final settlement authority to commit Defendant to
 4   pay, in the representative’s sole discretion, a settlement amount recommended
 5   by the settlement judge up to Plaintiff’s prayer (excluding punitive damage
 6   prayers), or up to Plaintiff’s last demand made prior to the settlement
 7   conference, whichever is lower. If the settlement decision will be made in
 8   whole or in party by an insurer, the insurer shall send a representative with full
 9   and complete authority to make settlement decisions. Failure to produce the
10   appropriate person(s) at the conference and/or failure to participate in good
11   faith may result in an award of costs and attorney’s fees incurred by the other
12   parties in connection with the conference and/or other sanctions against the
13   noncomplying party and/or counsel.1
14         2.    Pre-Conference Settlement Offers. In order to provide the parties
15   with a starting point for their settlement discussions with the Magistrate Judge,
16   Plaintiff shall advise Defendant of the terms upon which Plaintiff then is
17   prepared to settle the case, in a letter delivered or emailed no later than 12:00
18   p.m. on January 4, 2018. Within twenty-four (24) hours of receipt of
19   Plaintiff’s settlement offer, Defendant shall respond to the same by letter
20   advising Plaintiff of the terms upon which such Defendant is prepared to settle
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22           When a person whose personal attendance would otherwise be
     required pursuant to the foregoing paragraphs resides outside Orange County,
23   the Court will consider excusing the personal attendance of such person, so
24   long as such person can and will be available by telephone during the entire
     settlement conference. If a party desires to avail itself of this excuse from
25   personal attendance, counsel should so request in such party’s Settlement
26   Conference Statement. After the party’s Settlement Conference Statement is
     submitted, counsel should contact the Court’s courtroom deputy clerk to
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     ascertain whether the request has been granted.
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 1   the case. The Court expects the parties to exchange good faith settlement
 2   offers.
 3         3.    Settlement Conference Statement. Each party shall submit a
 4   Settlement Conference Statement to the Magistrate Judge by 5:00 p.m. on
 5   Friday, January 5, 2018. The parties shall exchange the Statements on the
 6   same date. These Statements shall not become a part of the file of the case, but
 7   shall be for the use of the Magistrate Judge in preparing for and conducting the
 8   settlement conference. Settlement Conference Statements should be delivered
 9   to the Court by email to dfm_chambers@cacd.uscourts.gov or directly to
10   chambers on the Sixth Floor of the Santa Ana Courthouse. The Statements
11   may be in letter format and shall not exceed ten (10) pages in length. The
12   parties’ respective Statements should address:
13               A.    A brief statement of the facts of the case, and of the claims
14         and defenses remaining to be tried, including the statutory or other
15         grounds upon which the claims are founded. This statement should
16         identify the major factual and legal issues in dispute, and cite any
17         controlling authorities.
18               B.    An itemized statement of the damages claimed, and of any
19         other relief sought.
20               C.    A summary of the proceedings to date, including any case
21         management dates/deadlines already set by the District Judge.
22               D.    A history of past settlement discussions, offers and demands,
23         including the most recent settlement offers exchanged pursuant to ¶ 2
24         above. A copy of such party’s letter sent pursuant to ¶ 2 above should be
25         attached to such party’s Settlement Conference Statement.
26         4.    Confidential Addendum. Each party shall also prepare a
27   Confidential Addendum to Settlement Conference Statement, which shall be
28   delivered (or emailed) directly to the Magistrate Judge only, simultaneously
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 1   with the Settlement Conference Statement. The Confidential Addendum shall
 2   not be filed with the Court or served upon the other parties. The Confidential
 3   Addendum shall contain:
 4                 A.    A forthright evaluation of the party’s likelihood of prevailing
 5         on each of its claims and/or defenses.
 6                 B.    The approximate amount of attorney’s fees, time and costs
 7         expended to date, and an estimate of the fees, time and costs to be
 8         expended for (i) further discovery, (ii) pretrial and (iii) trial.
 9                 C.    The party’s evaluation of the terms on which the other side
10         is prepared to settle the case.
11                 D.    The party’s evaluation of the terms on which the case could
12         be settled fairly, taking into account the litigation position and settlement
13         position of the other side.
14         5.      Format. The Court will generally use a mediation format, that is,
15   a joint session with opening remarks by the Court, followed by private
16   caucuses.
17         6.      Conference Preparation. The Court may, in its discretion, contact
18   the parties after review of the Statements and Confidential Addenda to arrange
19   a pre-settlement conference telephone call with counsel. The Court may ask
20   the parties to submit addenda to their statements during this telephone
21   conference.
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23   Dated: January 3, 2018
24                                                 ______________________________
                                                   DOUGLAS F. McCORMICK
25
                                                   United States Magistrate Judge
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